                                                        Case 3:22-cv-00002-MMD-CSD Document 10 Filed 03/07/22 Page 1 of 2



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                                                      Attorneys for Defendant
                                                    7 Ponderosa Hotel, Inc.

                                                    8
                                                                                    UNITED STATES DISTRICT COURT
                                                    9
                                                                                           DISTRICT OF NEVADA
                                                   10

                                                   11 LATISHA AHL                                      CASE NO.: 3:22-cv-00002-MMD-CSD
SIMONS HALL JOHNSTON PC




                                                   12                        Plaintiff,                    STIPULATION AND ORDER TO
                                                   13 vs.                                               EXTEND DEFENDANT’S DEADLINE TO
                                                                                                           FILE RESPONSIVE PLEADING
                          Phone: (775) 785-0088
                           690 Sierra Rose Drive




                                                                                                                  (First Request)
                             Reno, NV 89511




                                                   14 PONDEROSA HOTEL, INC., & CALVIN
                                                      CHITTUM,
                                                   15
                                                                    Defendants.
                                                   16

                                                   17          Defendant, PONDEROSA HOTEL INC, (“Defendant” or “Ponderosa”), by and through its
                                                   18   counsel of record, ANTHONY HALL and KENDRA JEPSEN of SIMONS HALL JOHNSTON,
                                                   19   and Plaintiff Latisha Ahl, (“Plaintiff”) by and through her counsel of record, MARK MAUSERT
                                                   20   and SEAN McDOWELL of MARK MAUSERT LAW, hereby stipulate and agree to extend the
                                                   21
                                                        deadline for Ponderosa to file its responsive pleading. The Defendants seek a fourteen (14) day
                                                   22
                                                        extension to answer or otherwise respond to Plaintiff’s Complaint. This request is made in good
                                                   23
                                                        faith, is not made for the purpose of delay, and will not result in any undue delay or prejudice.
                                                   24
                                                        Accordingly, the Parties have agreed and stipulate that the deadline for Defendants to answer or
                                                   25
                                                        otherwise respond to Plaintiff’s Complaint will be on or before March 17, 2022.
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                                                    1    DATED: March 7, 2022                       DATED: March 7, 2022
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                                                         MARK MAUSERT LAW                           SIMONS HALL JOHNSTON PC
                                                    4

                                                    5      /s/ Mark Mausert, Esq._____             _ /s/ Kendra Jepsen, Esq.____
                                                         Mark Mausert, Esq.                        Anthony L. Hall, Esq.
                                                    6    Sean McDowell, Esq.                       Kendra J. Jepsen, Esq.
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                                                    9    Attorneys for Plaintiff                   Attorneys for Defendant
                                                                                                   Ponderosa Hotel, Inc.
                                                   10

                                                   11
SIMONS HALL JOHNSTON PC




                                                   12

                                                   13                               IT IS SO ORDERED.
                          Phone: (775) 785-0088
                           690 Sierra Rose Drive
                             Reno, NV 89511




                                                   14
                                                                                    UNITED STATES MAGISTRATE JUDGE
                                                   15

                                                   16
                                                                                    DATED: March 7, 2022
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